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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                      )         4:10CR3001
                                               )
                    Plaintiff,                 )
                                               )
      vs.                                      )
                                               )         ORDER
JUAN RAMIREZ-REY,                              )
                                               )
                    Defendant.                 )


      On the oral motion of defense counsel, and without objection by government’s
counsel,

      IT IS ORDERED that Defendant Ramirez-Rey’s sentencing is rescheduled to 8:30
a.m. on Thursday, June 24, 2010, before the undersigned United States district judge, in
Courtroom No. 1, United States Courthouse and Federal Building, 100 Centennial Mall
North, Lincoln, Nebraska. The defendant shall be present unless excused by the court.

      Dated April 27, 2010.

                                            BY THE COURT:

                                            Richard G. Kopf
                                            United States District Judge
